 

 

UNITED STATES DISTRICT COURT ELE LES AS ta ney
SOUTHERN DISTRICT OF NEW YORK .

 

 

 

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CV eo

Write the full name of each plaintiff.

 

(include case number if one has been

 

assigned)
-against-
COMPLAINT
~ S &, &, Cre ! i j Sere
Q naan t | Do you want a jury trial?
Ves [No

 

 

 

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section I.

 

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; ora complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth: a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

Rev. 1/9/17
I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
[= Federal Question
[] Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

MY Foortin and fourteenth om end nent

 

 

 

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff , , is a citizen of the State of
(Plaintiff's name)

 

 

(State in which the person resides and intends to remain.)

or; if not lawfully admitted for permanent residence in the United States,-a-citizen.or -
subject of the foreign state of

 

if more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2
If the defendant is an individual:

The defendant, , is a citizen of the State of
(Defendant’s name)

 

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

if the defendant is a corporation:

The defendant, ,is incorporated under the laws of

 

the State of

 

and has its principal place of business in the State of

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Il. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
_pages if needed.

Raber a Loren
First Name Middle Initial Last Name

Fo Bon 540%07

 

 

 

Street Address

Bronx NY e454
County, City State Zip Code
Telephone Number Email Address (if available)

Page 3
B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed. .

Defendant 1:

Defendant 2:

Defendant 3:

“Soe NCFEsdevt USA
First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Page 4
Defendant list

1.The city of New York
2.Unkown ems workers
3.Unkown Nypd officers

4.Unkwown Esu officers
Defendant 4:

 

First Name. Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Ill. STATEMENT OF CLAIM

Place(s) of occurrence: 509 Broad way Nw) wrk «Ne
F 7 $

Date(s) of occurrence: NOv. A5/ any lpm +t@ 72m
FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

 

 

 

 

 

 

“See A+jached-

 

 

 

 

 

 

 

Page 5
Facts of the incident

On Nov.25,2019 | arrived at my job program that I’m currently

employed at. On this day in particular, | was at my employer’s

headquarters due to being suspended for missing work at my
job site on the day | was scheduled to work.

| got to 50 Broadway where this agency is located at around
11 am. | had a meeting with my job coach at this agency
because of my failure to report to my assign job site when |
was scheduled to. | waited in the waiting area of this agency
for an hour because my meeting wasn’t scheduled until 12pm.

| quietly waited during this time in the waiting area of this
agency and | did not bother anyone. | was not

physically/verbally threatening to the staff or any participants

of the program during time or at anytime during my visit to
this agency. They actually on this day had pizza for the
participants and | was offered this light meal while | waited
for my 12-0 clock meeting with my job coach concerning my
suspension.

When 12 pm came around | was handling other matters on
the phone and | inform my job coach ill be with him in five
minutes. After | ended my call, | met with my job coach.
He asked me the reason for my absence and | explained to
him that I’m having family issues. He asked me to elaborate
and | explain to him the situation. He said it sounds like a
matter he should discuss with the social worker and he exited
the room.

When he returned, he came back with a social worker that |
previously worked with. The social worker came in and
started talking about the family issues | discussed with the job
coach. | quickly told her that | was just having a man to man
conversation with my job coach about the females that I'm
involved with and I’m not discussing my issues with her.

Because | may have came off a little harsh, | told her no
offense, after | informed her I’m not discussing any issue | told
to my job coach in confidence and without meaning any harm.

She told me she understood and told me she wants to speak
about my housing situation. | dismissed her on that topic too
because | have been working for this employer for 5 months
and she has not helped me with housing so | felt the
impending conversation to be waste of time.

She immediately got offended and told me that she is either
calling 911 or | can choose to walk to the hospital escorted by

her and my job coach. | told her I’m not walking to any
hospital and | want to know the reason she thinks the police

are going to seize for the purposes of hospitalization. |
informed her | been hospitalized before and no behavior was
exhibited or any words was expressed by me today that
would give anyone the authority to do so.

Mirs.Poolt answered my question by stating you know because
of what you said. However, when | asked her what I said, she
failed to repeat the substance of the statement she would
later use as the basis of her complaint when she reported to
the police via 911 that I’m a danger to myself or others.

When police arrived, | was seated and | explain to them that

l’m not a danger to myself or others and | don’t know what

was said but you can ask the 911 caller if they felt in fear for
their life anytime during my interaction with them.

Mrs.poolt and my job coach informed the police “no” when
they asked was they in fear for their life by my behavior that
was exhibited at the agency. Yet, | was still seized. | told the
police according to law concerning seizing a citizen for the
purpose of hospitalization, | have to meet certain
prerequisites before | can be seized lawfully.

They agreed and told me that they’re not arresting me but if
ems say so, they will and that’s why I’m still waiting but I’m
not free to leave because I’m waiting for Ems.

When ems arrived, | informed them I’m not suicidal, | did not
attempt suicide, and | did not do anything physically/verbally
threatening to anybody in the vicinity or over the phone.
| then look at the female ems worker and the police informing
them I’m leaving because they can’t hold me there without
probable cause that | committed a crime or that I’m in need of
immediate hospitalization according to the fourth
amendment.

The female ems worker then said that is how it supposed to
go but I still have to consult with my partner. She returned,
telling the police to handcuff me. | inquired what requirement
of the law did | satisfy to justify this seizure and she said the
911 call.

| informed her that the information on the 911 is most likely
false and she is still required by law to make her own decision
based off my present behavior and answers to the question
that was designed to elicit from a person if they are a harm to
themselves or others. She told me the 911 call is sufficient
enough according to her partner and she told the police to
proceed in arresting me for the purposes of hospitalization.

| told her that you know this is illegal and I’m not consenting
for anybody to touch me. The officers then looked at her
grabbing me violently trying to place handcuffs on me. |
resisted by keeping my wrist separated, the arrest was
unlawful.

When their approach didn’t work, these officers slammed me
to the ground. After a brief struggled ensued, | was let back up
by these police officers and they called esu to assist with the
arrest.
When esu arrived; | was slammed, chocked and everything
eise under the sun they could possibly think of to be able to
get the handcuffs on me.This occurred for over 20 minutes
and the encounter that started on the 18" floor( where this
agency is located ),ended up with the plaintiff being forcefully
escorted by officers/esu/ems tied up ona hospital gurney(
with a breathing mask that wasn’t placed on him properly
causing him diffuctly in breathing) being placed in an
ambulance unwilling and unlawfully 18 floors down from
where the plaintiff had a meeting with his job coach.

The plaintiff clothes was in such disarray by nypd and esu
methods to handcuff the plaintiff during seizure process that
the plaintiff was brought down and taken outside forcefully
by officers while his boxers was embarrassingly exposed and
whatever else.

When | got to the hospital the doctor he stated that | was
placed in custody because | told CEO staff that | wanted to kill
my baby mother and son. When | informed the doctor | didn’t

say that, the doctor inquired further as to why that couldn’t

be determine by ems? He asked was | rowdy? | stated no. He

asked did | answer the danger to myself or others questions
properly, I stated yes.

He then stated that he is not admitting me and stated that the

ems made a mistake by telling police to seize me for
hospitalization and the police is wrong for listening to them.
| was released but Bellevue employees denied to examine me
for injuries associated with my arrest even though | came in
injured. So, | later went to Woodhull the next morning when
pain from the incident started to bother me. | was seen by
internal affairs at Woodhull in regards to the incident then |
wes discharged.
Failure to protect

The nypd and esu officers failed to protect the plaintiff's
constitutional right of being seized without probable cause
when they allowed the ems defendants to direct them to
seized the plaintiff under mhl 9.41 without the appropriate
probable cause required to exist before a citizen can lawfully
be seized for hospitalization under that law.

Furthermore, these defendants were aware that the
information the ems workers used to justify a seizure
pursuant to mhl 9.41 was insuccificent and that if they

complied with the medical workers instructions they would be
violating the plaintiffs right to be free from being seized
without probable cause.

Because of this these defendants failed to protect the plaintiff
and his rights were violated.

Parties liable: The city of new York,Unkown
Nypd and Esu officers
False arrest claim against Nypd

The Nypd officersthat encountered me on Nov.25,2019 knew
that based off the requirements of the Mental health hygiene
law 9.41(the law that gives them authority to seize a citizen
for the purposes of hospitalization):

 
 

That | did not meet the criteria to be seized that day under
that law. I did not attempt suicide on that day, say | wanted to
kill myself or exhibit homicidal behavior.

| even heard the ems and officers discussing that since | said |
been in a psychiatric ward before that information alone is
sufficient enough to justify the seizure. Which the law does
not side with these defendants on their opinion.

Furthermore, without exhibiting physically threatening
behavior to the staff, participants, or officers these
defendants were not justified in seizing the plaintiff pursuant
to the law that gives them the authority to do so. Which
renders this police encounter and seizure an unlawful one!

Even if these defendants state they were justified for their
actions according to the law, based off the information they
were provided with from the agency, that analyzation would

be wrong because a person making a threat without
exhibiting behavior does not give these defendant authority
to make a seizure according to the law.

Parties liable: The city of New York , Unknown
Nypd and Esu officers
False arrest claim against Ems

The Ems workers (a male and a female) that encountered me
on Nov.25,2019 knew that based off the requirements of the
Mental health hygiene law 9.41(the law that gives them
authority to seize a citizen for the purposes of
hospitalization):

 
 

That I did not meet the criteria to be seized that day under
that law. | did not attempt suicide on that day, say | wanted to
kill myself or exhibit homicidal behavior.

| even heard the ems and officers discussing that since | said |
been in a psychiatric ward before that information alone is
sufficient enough to justify the seizure. Which the law does
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actions according to the law, based off the information they
were provided with from the agency, that analyzation would

be wrong because a person making a threat without
exhibiting behavior does not give these defendant authority
to make a seizure according to the law.

Parties liable: EMS workers
 

 

 

 

 

 

 

 

 

 

INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

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AM a [eS OF My bed due 49 the aSSquit and Panty |
lumps dos te me be: ng th Pow afaond by of Fi ceks on hasral
Surreces, & wOS treated at woodhoil For mos oF ry INnSengs
and Was prescribed Sai Nh meds,
IV. RELIEF
State briefly what money damages or other relief you want the court to order.
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amMoun+ OF -S MU en daija lS, EM Soing 6% ch todiwidual
decendant FOC a Mi iMtion dolla MN Con Pe nSectars< dangyxes

And punitive damages.

 

Page 6
V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation), (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

weg

 

 

 

 

 

 

 

oo AO OG
19Y S/ agit A Le
Dated Plaintiff's Signature

Rober oD Lurch
First Name Middle fnitial Last Name

Po Pox S1c e727
Street Address

Bronx NY \O4 sti

County, City State Zip Code
Telephone Number Email Address (if available)

I have read: the Pro'Se (Nonprisoner) Consent to Receive Documents Electronically: —~
[1Yes [1 No

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7
